                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                            Case No. 6D2023-3561
                        Lower Tribunal No. 2022-CA-429
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                                     DENNIS LONG,

                                      Appellant,
                                          v.

              The Honorable DAVID HORTON, County Court Judge,

                                       Appellee.
                       _____________________________

                Appeal from the Circuit Court for Hardee County.
                            Reinaldo Ojeda, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

SMITH, BROWNLEE and GANNAM, JJ., concur.


Dennis Long, Jacksonville, pro se.

No Appearance for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
